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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS



ANTHONY CAIRNS,                                      )
                                                     )
                        Plaintiff,                   )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:23-CV-01109
AKS BUSINESS GROUP LLC,                              )
                                                     )
                        Defendant.                   )

                                            COMPLAINT

       COMES NOW, ANTHONY CAIRNS, by and through the undersigned counsel, and files

this, his Complaint against Defendant, AKS BUSINESS GROUP LLC, pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s

Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).              In support thereof, Plaintiff

respectfully shows this Court as follows:

                                        JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

AKS BUSINESS GROUP LLC, failure to remove physical barriers to access and violations of

Title III of the ADA.

                                             PARTIES

       2.      Plaintiff ANTHONY CAIRNS (hereinafter “Plaintiff”) is and has been at all

times relevant to the instant matter, a natural person residing in Dallas, Texas (Denton County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in


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performing one or more major life activities, including but not limited to: walking, standing,

grabbing, grasping and/or pinching.

         5.    Plaintiff uses a wheelchair for mobility purposes.

         6.    Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring,

determining and ensuring whether places of public accommodation are in compliance with the

ADA. His motivation to return to a location, in part, stems from a desire to utilize ADA

litigation to make Plaintiff’s community more accessible for Plaintiff and others; and pledges to

do whatever is necessary to create the requisite standing to confer jurisdiction upon this Court so

an injunction can be issued correcting the numerous ADA violations on this property, including

returning to the Property as soon as it is accessible (“Advocacy Purposes”).

         7.    Defendant, AKS BUSINESS GROUP LLC (hereinafter “AKS BUSINESS

GROUP LLC”) is a Texas limited liability corporation that transacts business in the State of

Texas and within this judicial district.

         8.    Defendant, AKS BUSINESS GROUP LLC, may be properly served with process

via its registered agent for service, to wit: c/o Arifa K. Surani, Registered Agent, 2112 Country

Brook Lane, Allen, TX 75002.

                                   FACTUAL ALLEGATIONS

         9.    On or about November 4, 2023, Plaintiff was a customer at “Kwik Mart,” a

business located at 1235 S State Highway 121, Lewisville, TX 75067, referenced herein as

“Kwik Mart”. See Receipt attached as Exhibit 1. See also photo of Plaintiff attached as Exhibit

2.




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       10.     Defendant, AKS BUSINESS GROUP LLC, is the owner or co-owner of the real

property and improvements that Kwik Mart is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.     Defendant, AKS BUSINESS GROUP LLC, as property owner, is responsible for

complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, AKS BUSINESS GROUP LLC, and a tenant

allocating responsibilities for ADA compliance within the unit the tenant operates, that lease is

only between the property owner and he tenant and does not abrogate the Defendant’s

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

       12.     Plaintiff’s access to Kwik Mart located at 1235 S State Highway 121, Lewisville,

TX 75067, Denton County Property Appraiser’s property identification number 16494 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the ADA violations

that exist at the Property, including those set forth in this Complaint.

       13.     Plaintiff lives 8 miles from the Property.

       14.     Given the close vicinity of the Property to Plaintiff’s residence and the fact the

Property is directly adjacent to a major highway, Plaintiff is routinely travelling by the Property

on at least a monthly basis.

       15.     PRESUIT NOTICE: On November 29, 2023, Plaintiff mailed to Defendant via

certified mail/return receipt requested a pre-suit notice of the violations and his intent to file this



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lawsuit if a settlement could not be reached to resolve the claim prior to filing this Complaint.

See Pre-suit Letters attached as Exhibit 3. No response was received.

       16.     Plaintiff has visited the Property once before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer, to be a customer of Taco Hut at the Property, to determine if

and when the Property is made accessible and to maintain standing for this lawsuit for Advocacy

Purposes.

       17.     Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer as well as for Advocacy Purposes but does not intend to re-expose himself to the

ongoing barriers to access and engage in a futile gesture of visiting the public accommodation

known to Plaintiff to have numerous and continuing barriers to access.

       18.     Plaintiff travelled to the Property as a customer and as an independent advocate

for the disabled, encountered barriers to access at the Property, suffered legal harm and legal

injury, and will continue to suffer such harm and injury as a result of the illegal barriers to access

present at the Property.

       19.     Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and

advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and she would need to use an



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alternative accessible parking space in the future on her subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury on a future visit.

       20.     Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an injury in fact.



                                     COUNT I
                         VIOLATIONS OF THE ADA AND ADAAG

       21.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       22.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and


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       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       23.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       24.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       25.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       26.     The Property is a public accommodation and service establishment.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       28.     Public accommodations were required to conform to these regulations by January



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26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       30.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property and as an independent advocate for the disabled, but

could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Plaintiff intends to visit the Property again as a customer and as an independent

advocate for the disabled, in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Property, but will be unable to fully

do so because of his disability and the physical barriers to access, dangerous conditions and

ADA violations that exist at the Property that preclude and/or limit his access to the Property

and/or the goods, services, facilities, privileges, advantages and/or accommodations offered

therein, including those barriers, conditions and ADA violations more specifically set forth in

this Complaint.

       32.     Defendant, AKS BUSINESS GROUP LLC, has discriminated against Plaintiff

(and others with disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).



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       33.       Defendant, AKS BUSINESS GROUP LLC, will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, AKS BUSINESS GROUP LLC,

is compelled to remove all physical barriers that exist at the Property, including those

specifically set forth herein, and make the Property accessible to and usable by Plaintiff and

other persons with disabilities.

       34.       A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed that precluded and/or limited Plaintiff’s

access to the Property and the full and equal enjoyment of the goods, services, facilities,

privileges, advantages and accommodations of the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.   The access aisle to the accessible parking space is not level due to the

                    presence of an accessible ramp in the access aisle in violation of Section 502.4

                    of the 2010 ADAAG standards. This barrier to access would make it

                    dangerous and difficult for Plaintiff to exit and enter their vehicle while

                    parked at the Property as the lift from the van may rest upon the ramp and

                    create an unlevel surface.

             ii.    The accessible curb ramp is improperly protruding into the access aisle of the

                    accessible parking space in violation of Section 406.5 of the 2010 ADAAG

                    Standards. This barrier to access would make it dangerous and difficult for

                    Plaintiff to exit and enter their vehicle while parked at the Property as the lift

                    from the van may rest upon the ramp and create an unlevel surface.

             iii.   The accessible parking space is not level due to the presence of accessible

                    ramp side flares in the accessible parking space in violation of Sections 502.4



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              and 406.5 of the 2010 ADAAG standards. This barrier to access would make

              it dangerous and difficult for Plaintiff to exit and enter their vehicle while

              parked at the Property as the van may rest upon the ramp and create an

              unlevel surface for Plaintiff to exit and enter their vehicle.

       iv.    The Property has an accessible ramp leading from the accessible parking

              space to the accessible entrances with a slope exceeding 1:12 in violation of

              Section 405.2 of the 2010 ADAAG standards. This barrier to access would

              make it dangerous and difficult for Plaintiff to access the units of the Property

              because when ramps are too steep (more than 1:12) it requires too much

              physical arm strain to wheel up the ramp and increases the likelihood of the

              wheelchair falling backwards and Plaintiff being injured.

        v.    Due to the placement of a Ready Ice Cooler and bollards near the accessible

              ramp, the landing at the top of the curb accessible ramp did not have 36

              (thirty-six) inch clear space in violation of Section 406.4 of the 2010 ADAAG

              standards. This barrier to access would make it difficult and dangerous for

              Plaintiff to access the Property.

       vi.    As a result of the barriers to access referenced in (v), the Property lacks an

              accessible route from the accessible parking space to the accessible entrance

              of the Property in violation of Section 208.3.1 of the 2010 ADAAG standards.

              This barrier to access would make it difficult for Plaintiff to access the units of

              the Property.

       vii.   Due to the placement of a Ready Ice Cooler and bollards in the accessible

              route, there are publicly accessible areas of the Property having accessible



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               routes with clear widths below the minimum 36 (thirty-six) inch requirement

               as required by Section 403.5.1 of the 2010 ADAAG standards. This barrier to

               access would make it difficult for Plaintiff to access the rest of the units of the

               Property as Plaintiff’s wheelchair would not be able to get past this barrier.

       viii.   As a result of the barriers to access referenced in (vii), the Property lacks an

               accessible route connecting accessible facilities, accessible elements and/or

               accessible spaces of the Property in violation of Section 206.2.2 of the 2010

               ADAAG standards. This barrier to access would make it difficult for Plaintiff

               to access public features of the Property.

        ix.    The outside order window is not on an accessible route. As a result, the

               Property lacks an accessible route connecting accessible facilities, accessible

               elements and/or accessible spaces of the Property in violation of Section

               206.2.2 of the 2010 ADAAG standards. This barrier to access would make it

               difficult for Plaintiff to access public features of the Property.

         x.    The outside to-go/take-out counter lacking any portion of the counter that has

               a maximum height of 36 (thirty-six) inches from the finished floor in violation

               of Section 904.4 of the 2010 ADAAG standards, all portions of the to-go/take-

               out counter exceed 36 (thirty-six) inches in height from the finished floor.

               This barrier to access would make it difficult for Plaintiff to properly transact

               business at the Property.

        xi.    Inside the Taco Hut, there are sales and services counters lacking any portion

               of the counter that has a maximum height of 36 (thirty-six) inches from the

               finished floor in violation of Section 904.4 of the 2010 ADAAG standards, all



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               portions of the sales and service counter exceed 36 (thirty-six) inches in height

               from the finished floor. This barrier to access would make it difficult for

               Plaintiff to properly transact business at the Property as Plaintiff is in a

               wheelchair which makes his height much lower than a standing individual, so

               a surface with a maximum height of 36 inches above the finished floor is

               necessary for Plaintiff to sign credit card receipts.

        xii.   Inside Kwik Mart, due to a policy of storing bottles and other items in the

               accessible route leading to the restroom, the interior has walking surfaces

               lacking a 36 (thirty-six) inch clear width leading to the restroom, in violation

               of Section 403.5.1 of the 2010 ADAAG standards. This barrier to access

               would make it difficult for Plaintiff to properly utilize public features at the

               Property because the width of Plaintiff’s wheelchair would prevent passage

               through areas with a width less than 36 inches.

       xiii.   Defendant fails to adhere to a policy, practice and procedure to ensure that all

               facilities are readily accessible to and usable by disabled individuals.

RESTROOMS

        xiv.   There is a policy of storing bottles and other items in the accessible route in

               front of the restroom door. As a result, the restroom door lacks a clear

               minimum maneuvering clearance, due to the proximity of the door hardware

               within 18 inches to the adjacent items being stored, in violation of Section

               404.2.4 of the 2010 ADAAG standards. This barrier to access would make it

               difficult for Plaintiff and/or any disabled individual to safely utilize the

               restroom due to the fact individuals in wheelchairs have their feet sticking out



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                       in front of them and when there is inadequate clearance near the door (less

                       than 18 inches), their protruding feet block their ability to reach the door

                       hardware to open the door.


             xv.       The restroom lacks signage in compliance with Sections 216.8 and 703 of the

                       2010 ADAAG standards. This barrier to access would make it difficult for

                       Plaintiff and/or any disabled individual to locate accessible restroom facilities.

             xvi.      The door hardware providing access to the restrooms requires tight grasping

                       and twisting of the wrist in violation of Section 404.2.7 of the 2010 ADAAG

                       standards. This barrier to access would make it difficult for Plaintiff and/or

                       any disabled individual to utilize the restroom facilities.

          xvii.        There is inadequate clear floor space for the toilet due to the location of the

                       adjacent sink in violation of Section 604.3.2 of the 2010 ADAAG standards.

                       This barrier to access would make it difficult for Plaintiff and/or any disabled

                       individual to safely utilize the restroom facilities.

                    (x) The restrooms lack adequate turning space in violation of Sections 304.3.1

                       and 304.3.2 of the 2010 ADAAG standards. This barrier to access would

                       make it difficult for Plaintiff and/or any disabled individual to safely utilize

                       the restroom facilities.

       35.          The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       36.          Plaintiff requires an inspection of the Property in order to determine all of the

discriminatory conditions present at the Property in violation of the ADA.

       37.          The removal of the physical barriers, dangerous conditions and ADA violations


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alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.34.

       38.       All of the violations alleged herein are readily achievable to modify to bring the

Property into compliance with the ADA.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, AKS

BUSINESS GROUP LLC, has the financial resources to make the necessary modifications since

the Property is valued at $690,000.00 according to the Property Appraiser website.

       41.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction available from the IRS for spending money on accessibility

modifications.

       42.       Upon information and good faith belief, the Property has been altered since 2010.

       43.       In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

       44.       Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

AKS BUSINESS GROUP LLC, is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Property, including those alleged herein.



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         45.   Plaintiff’s requested relief serves the public interest.

         46.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, AKS BUSINESS GROUP LLC.

         47.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, AKS BUSINESS GROUP LLC, pursuant to 42 U.S.C. §§ 12188 and

12205.

         48.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, AKS

BUSINESS GROUP LLC, to modify the Property to the extent required by the ADA.

         WHEREFORE, Plaintiff prays as follows:

         (a)   That the Court find Defendant, AKS BUSINESS GROUP LLC, in violation of the

               ADA and ADAAG;

         (b)   That the Court issue a permanent injunction enjoining Defendant, AKS

               BUSINESS GROUP LLC, from continuing their discriminatory practices;

         (c)   That the Court issue an Order requiring Defendant, AKS BUSINESS GROUP

               LLC, to (i) remove the physical barriers to access and (ii) alter the subject

               Property to make it readily accessible to and useable by individuals with

               disabilities to the extent required by the ADA;

         (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

               and costs; and

         (e)   That the Court grant such further relief as deemed just and equitable in light of the

               circumstances.

                                               Dated: December 15, 2023.



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                                  Respectfully submitted,

                                  Law Offices of
                                  THE SCHAPIRO LAW GROUP, P.L.

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